             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 1 of 26




 1                                                      The Honorable Barbara J. Rothstein
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13                             UNITED STATES DISTRICT COURT
14                            WESTERN DISTRICT OF WASHINGTON
15                                      AT SEATTLE
16
17
18   TATIANA WESTBROOK, an individual;          NO. 2:20-cv-01606 BJR
19   JAMES WESTBROOK, an individual;
20   HALO BEAUTY PARTNERS, LLC, a               DEFENDANTS’ MOTION TO
21   Nevada Limited Liability Company,          DISMISS
22
23                     Plaintiffs,              NOTED FOR CONSIDERATION:
24
25          v.                                  December 28, 2020
26
27   KATIE JOY PAULSON, an individual;
28   WITHOUT A CRYSTAL BALL, LLC, a
29   Minnesota Limited Liability Company; and
30   DOES 1 through 100, inclusive,
31
32                     Defendants.
33
34
35
36
37
38
39
40
41
42
43
44
45


     DEFENDANTS’ MOTION TO DISMISS                       GORDON      600 University Street
                                                          TILDEN     Suite 2915
                                                         THOMAS      Seattle, WA 98101
                                                         CORDELL     206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 2 of 26



 1                                        I. INTRODUCTION
 2
 3          Plaintiffs Tatiana and James Westbrook are prominent and notorious social media
 4
 5   personalities in what is referred to as the “beauty” or “beauty drama” scene on YouTube. They
 6   are also members in Plaintiff Halo Beauty Partners LLC (“Halo”), which sells certain of their
 7
 8   products. The Westbrooks have made large amounts of money by attracting attention from the
 9
10   media and the public. Since the spring of 2019 much—perhaps most—of that attention has been
11
12   negative. Just a few minutes of searching on the internet yields numerous stories about the
13   Westbrooks’ recent, very public, self-made scandals and self-inflicted wounds. These include the
14
15   scathing blowback they suffered when, in May of 2019, Ms. Westbrook used her massive
16
17   platform on YouTube to falsely accuse her most prominent business rival, the 19-year-old James
18
19   Charles, of sexual misconduct. Ms. Westbrook deliberately re-ignited that controversy when she
20   returned to YouTube in June of 2020 to falsely blame two of her other rivals—the prominent
21
22   social media personalities Jeffree Starr and Shane Dawson—for “coercing” her into making the
23
24   earlier defamatory accusations against Charles. She alleged that Starr and Dawson engaged in
25
     this coercion as part of their far-flung and murderous conspiracy to clear the way for them to
26
27   promote beauty and health supplements that would compete with Ms. Westbrook’s. In the
28
29   second video, which Ms. Westbrook states was “approved” by her “legal team,” she alleges that
30
31   Starr and Dawson are responsible for inflicting the severe personal and business injuries she
32
     suffered since May of 2019, and warns of coming litigation against them.
33
34          Not surprisingly, Ms. Westbrook faced massive criticism for these outrageous
35
36   allegations, and for her use of an anti-gay stereotype to harm a young competitor and boost her
37
38   own sales. This criticism was rampant on social media, including from the most famous and
39
     widely-subscribed YouTube personality in the world (with 100 million subscribers), who goes
40
41   by the name “PewDiePie.” The scandals that followed the two videos are referred to in the
42
43   media, respectively, as Dramageddon 2.0 (Dramageddon 1.0 was an earlier scandal involving
44
45   other YouTube celebrities) and Karmageddon.


     DEFENDANT’S MOTION TO DISMISS - 1                              GORDON       600 University Street
                                                                     TILDEN      Suite 2915
                                                                    THOMAS       Seattle, WA 98101
                                                                    CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 3 of 26




 1          The Westbrooks’ troubles multiplied in October of this year, when their business partner
 2
 3   in Halo, Clark Swanson, sued them for $5 million in Los Angeles County Superior Court for
 4
     fraud, improper diversion of corporate assets, and breach of fiduciary duty. Perhaps most
 5
 6   injurious to Plaintiffs’ reputation was Swanson’s sworn accusation that Ms. Westbrook boasted
 7
 8   of her ability to use her celebrity to sell a “shit product” to her fans. That lawsuit—the filing of
 9
10   which was first reported by Defendants Katherine Paulson and her corporation Without a Crystal
11
     Ball LLC—also received very wide coverage in both social and mainstream media.
12
13          Just days after Defendants broke the story of the Swanson lawsuit, Plaintiffs filed this
14
15   lawsuit against them in Seattle. Presumably not by mere coincidence, they sued Defendants for
16
17   exactly the same amount as Mr. Swanson sued them—$5 million. They allege that Defendants
18
     are responsible for the severe personal and business injuries they have suffered during the period
19
20   of Dramageddon 2.0 and Karmageddon, simply by virtue of their reporting related to these
21
22   events. This suit is part-public relations stunt and part-intimidation, designed to divert attention
23
24   from the real sources of Plaintiffs’ troubles and to chill further negative reporting on them. The
25   most obvious indication of that intent is the Westbrooks’ decision to sue only Defendants, with
26
27   their relatively modest audience, and not the very prominent, wealthy, and influential persons
28
29   whom she—with her attorneys’ approval—publicly blamed for the very same injuries.
30
31   Remarkably, Plaintiffs name 100 “DOE” defendants, alleging they are unaware of their identity
32   despite the fact that they (with their attorneys’ “approval”) publicly named Starr and Dawson as
33
34   the cause of those injuries.
35
36          Putting aside the patent silliness of Plaintiffs’ attempt to blame a small YouTube channel
37
38   located in Hanover, Minnesota for their injuries, the Complaint should be dismissed now for
39   several reasons. First and most importantly, Plaintiffs have come nowhere close to establishing
40
41   that this Court may exercise personal jurisdiction over two Minnesota Defendants who have zero
42
43   relevant contacts with Washington State. Especially troubling is the Westbrooks’ attempt to
44
     support their assertion of personal jurisdiction by resort to what appear to be demonstrably false
45


     DEFENDANTS’ MOTION TO DISMISS - 2                                GORDON        600 University Street
                                                                       TILDEN       Suite 2915
                                                                      THOMAS        Seattle, WA 98101
                                                                      CORDELL       206.467.6477
                Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 4 of 26




 1   representations as to their state of residence. Second, Plaintiffs’ decision to name 100 “DOE”
 2
 3   defendants precludes this Court’s exercise of diversity jurisdiction. Third, Plaintiffs have failed
 4
     to include necessary and indispensable defendants, including Starr and Dawson. Fourth,
 5
 6   Plaintiffs’ claims for Consumer Protection Act violations and intentional and negligent infliction
 7
 8   of emotional distress are not supported by factual allegations sufficient to raise a plausible
 9
10   inference of Defendants’ liability under those theories. Finally, Plaintiffs’ claim for “Civil
11
     Harassment” fails because: (1) there is no federal subject matter jurisdiction with respect to this
12
13   state-law criminal procedure statute; (2) Plaintiffs failed to submit the required sworn affidavit in
14
15   support of that “claim”; and (3) that statute does not turn Defendants’ conduct—the use of public
16
17   sources to report about a celebrity for the purpose of reaching a general internet audience—into
18
     a claim for harassment targeted at the celebrity at the center of those events.
19
20
                                           II. STATEMENT OF FACTS 1
21
22   A.       Background events leading to Plaintiffs’ filing of this lawsuit
23
24            1.       Ms. Westbrook falsely accuses a young rival of sexual misconduct to an
25                     audience of more than 47 million.
26
27            In the spring of 2019, Tatiana Westbrook publicly revealed that she was angry at her
28
     rival, the then-19-year-old prominent social media personality James Charles, when she learned
29
30   that Charles was promoting a product that competed with Ms. Westbrook’s own products. Def’s
31
32   Request for Judicial Notice, Appx. B-1. Ms. Westbrook, 37 years-old at the time, publicly
33
34   described her relationship with Charles as one of mentorship and even akin to mother-son. Id.
35
     Nevertheless, after “thinking things through” carefully, she decided that, instead of speaking
36
37   with Charles directly, the best way to deal with the perceived threat to her fame and her brand
38
39   was to post a video on her YouTube channel, with more than 9 million subscribers. Id. In that
40
41   video, she falsely accused Charles—an openly gay man—of coercing young “straight men” into
42
43
          Undersigned counsel is aware the cited evidence includes profanity that would normally be inappropriate for
          1
44   judicial proceedings. However, the believes the evidence is important to convey the nature of the scandals that form
45   the basis of this suit.


     DEFENDANTS’ MOTION TO DISMISS - 3                                          GORDON         600 University Street
                                                                                 TILDEN        Suite 2915
                                                                                THOMAS         Seattle, WA 98101
                                                                                CORDELL        206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 5 of 26




 1   “behaving sexually in [his] favor” by “threatening to ruin them,” and by use of “tricks” and other
 2
 3   “manipulation.” Id. (at 24:00 - 27:00). She made these public accusations despite her stated
 4
     belief that Charles was so troubled that he might react by committing suicide, by jumping off the
 5
 6   50th story of the hotel he was then staying at overseas. Id., Appx. B-8 (at 26:00 – 26:20).
 7
 8          NBC news reported that Bye Sister was viewed 35 million times in just the first few days
 9
10   after it was posted. Id., Appx. B-2. Mr. Charles soon posted a video refuting Ms. Westbrook’s
11
     accusations. Id., Appx. B-3. The scandal then drew the attention of mainstream outlets such as
12
13   CNN.com and Newsweek.com. Id., Appx. B-4. What followed was a torrent of scathing criticism
14
15   of Ms. Westbrook. She was called out by other prominent YouTube personalities with massive
16
17   viewership, for falsely accusing Charles of sexual misconduct for the purpose of attracting
18
     attention to her video and her brand, and to harm a competitor. Id., Appx. B-5. She was also
19
20   criticized by mainstream outlets such as BuzzFeed News and San Francisco NPR and PBS outlet
21
22   KQED, who took her to task for deploying an anti-gay stereotype—the predatory gay man who
23
24   “turns” young straight men—to publicly attack a prominent and successful gay male celebrity.
25   Id., Appx. B-6. The maelstrom caused by Bye Sister came to be known in the YouTube world
26
27   and beyond as Dramageddon 2.0. Id., Appx. B-7.
28
29          2.      Ms. Westbrook tearfully blames two other rivals for her false accusations
30                  against Charles, to an audience of more than 12.5 million.
31
32          One year later, when the scandal had simmered down, Ms. Westbrook once again took to
33
     YouTube to post a follow-up video, this time making salacious accusations about two other
34
35   prominent social media personalities—Dawson and Starr. Id., Appx. B-8. That 40-minute video,
36
37   called Breaking My Silence, has so far garnered at least 12.5 million views on Ms. Westbrook’s
38
39   channel, and countless more from the media coverage and re-playing of Breaking My Silence on
40
     other popular YouTube channels. Id. Breaking My Silence had its predictable—and presumably
41
42   intended—effect; it reignited the controversy and drew massive public attention once again to
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 4                              GORDON       600 University Street
                                                                     TILDEN      Suite 2915
                                                                    THOMAS       Seattle, WA 98101
                                                                    CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 6 of 26




 1   Ms. Westbrook. This came to be known as Karmageddon, presumably because the players were
 2
 3   reaping what they had sown in terms of bad publicity and reputational damage. Id, Appx. B-9.
 4
            In Breaking My Silence, Ms. Westbrook purported to apologize for her unfounded
 5
 6   defamatory accusations against Mr. Charles and to c all for “kindness,” “foregiveness” and
 7
 8   “prayer.” Id., Appx. B-8. But she then went on to spend most of the 40 minutes blaming Starr
 9
10   and Dawson for the Bye Sister debacle and for Dramageddon 2.0. She explained that during the
11
     months since Bye Sister, she had “put the pieces together” and now “realized” that Starr and
12
13   Dawson had “used, manipulated, and coerced” her into making and posting Bye Sister. Id. She
14
15   went on to state that this coercion was part of a wide-ranging conspiracy to “keep her quiet and
16
17   push her out of the way” for “business reasons,” as well as to hurt Charles. Id. The ultimate
18
     purpose of this shadowy conspiracy, she alleged, was to pave the way for Starr and Dawson (and
19
20   “many” unnamed others) to launch their own products that would compete with
21
22   Ms. Westbrook’s. Id. Ms. Westbrook said she “feared for her life” because she and her attorneys
23
24   were in the process of exposing this conspiracy, and she already “knew too much.” Id. She
25   opined that there were additional players in this conspiracy besides Starr and Dawson, because
26
27   “this is just too big, I think there were many players.” Id. Ms. Westbrook explained that she and
28
29   her legal team had “accumulated evidence” to support these wild accusations, but on the “advice
30
31   of my attorneys,” she could not reveal that evidence yet. Id.
32          Ms. Westbrook also explained that Bye Sister and the blowback from it had “poisoned”
33
34   her reputation, had caused her to become the target of “relentless hate” in the mainstream media
35
36   and social media platforms, and had caused “enormous” damage to her business and personal
37
38   health. She explained: “I couldn’t sleep. Slowly I became a shell of my former self . . . I’ve been
39   terrified for a very long time.” Id. She was so frightened by the alleged conspiracy, she
40
41   explained, that she had to leave her “L.A. home,” and later “had to relocate again . . . and I have
42
43   taken serious security precautions to protect my safety.” Id. Near the end of the video, she
44
45


     DEFENDANTS’ MOTION TO DISMISS - 5                               GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 7 of 26




 1   warned Starr and Dawson that the statute of limitations on defamation and other civil claims
 2
 3   against them had not yet run, and suggested litigation against them would soon be coming. Id.
 4
            Not surprisingly, Breaking My Silence reignited the scandal, with Mr. Dawson and his
 5
 6   supporters publicly accusing Ms. Westbrook of “fake crying” during the video and being
 7
 8   “manipulative.” Id., Appx. B-10. The backlash soon went global. PewDiePie posted a heated
 9
10   commentary on Breaking My Silence, criticizing Ms. Westbrook for her “unbelievable”
11
     manipulation, refusal to take responsibility, and blame-shifting with respect to Bye Sister, and
12
13   saying Ms. Westbrook “has to quit YouTube” because “this is so embarrassing.” Id., Appx. B-
14
15   11. Another popular YouTube commentator named Trisha Paytas posted a video entitled Tati Is
16
17   Dumb as Hell, which drew 2.5 million direct views (and an unknown amount of re-plays on
18
     other channels), in which she lambasted Ms. Westbrook for falsely accusing Mr. Charles of
19
20   “sexual crimes,” and then trying to dodge responsibility by saying others made her do it. Id.,
21
22   Appx. B-12.
23
24          3.      The Westbrooks’ business partner sues them for fraud and malicious
25                  misconduct.
26
            On October 20, 2020, in the midst of the fallout from Dramageddon 2.0 and
27
28   Karmageddon, the Westbrooks were sued in Los Angeles County Superior Court by Clark
29
30   Swanson, the 33% minority member in Plaintiff Halo Beauty Partners LLC. See Swanson v.
31
32   Halo Beauty, Inc., 20SMCV01573 (Los Angeles Superior Court, October 20, 2020). Id.,
33
     Appx. A. In his detailed complaint, Swanson alleges that the “greedy” Westbrooks “robbed” him
34
35   of the benefits of his ownership interest in Halo Beauty. Id. Mr. Swanson alleges that
36
37   Ms. Westbrook once boasted of her ability to sell a “shit product” to her loyal followers, simply
38
39   because of her celebrity. He brings claims of fraud, breach of fiduciary duty, and conversion,
40
     among others. Id.
41
42
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 6                               GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 8 of 26




 1   B.     The Westbrooks sue Defendants—and no one else—in Seattle, for the harm they
 2          previously claimed was caused by Starr, Dawson and their Los Angeles-based
 3          conspiracy.
 4
 5          Defendants were the first to report on the Swanson lawsuit after it was filed. Declaration
 6
     of Katherine Paulson, ¶ 2. What followed was widespread media coverage of Swanson’s claims,
 7
 8   in particular the fraud allegations and the evidence of Ms. Westbrook’s cynical contempt for her
 9
10   customers and fans. That coverage exploded on social media, but also appeared in mainstream
11
12   outlets such as Business Insider, MSN.com, Yahoo! News, MTV.com, and Reddit, with
13
     headlines such as “Tati Westbrook Sued for Defrauding Millions.”
14
15          Just days after Defendants broke the story of Swanson’s $5 million suit against the
16
17   Westbrooks, the Westbrooks—seeking to deflect attention from those allegations and that
18
19   $5 million claim—brought this lawsuit, ostensibly seeking $5 million in damages for injuries
20   they allegedly suffered during Dramageddon 2.0 and Karmageddon. But they did not bring their
21
22   claims against Starr or Dawson. Instead, they only sued Ms. Paulson and her small solely-owned
23
24   LLC, both Minnesota residents. Id. at ¶¶ 3-4. The Complaint makes no mention of the
25
26   Westbrooks’ very public allegations that the wildly-famous and influential Starr and Dawson—
27   and their Los Angeles-based conspiracy—caused the Westbrooks’ Los Angeles-based injuries.
28
29   Instead, they now allege that Defendants—from Hanover, Minnesota with their 135,000
30
31   subscribers—caused their severe emotional, physical, reputational, and business injuries because
32
33   of their reporting related to the two scandals. And, remarkably, they allege that their injuries
34   were suffered in Washington, despite the fact that they lived and conducted their business in Los
35
36   Angeles and the fact, stated in the Complaint, that Halo is a Nevada corporation.
37
38                                           III. ARGUMENT
39
40   A.     This Court may not exercise personal jurisdiction over Plaintiffs.
41
42          1.      Applicable standards and burden-shifting
43          “Federal courts ordinarily follow state law in determining the bounds of their jurisdiction
44
45   over persons.” Daimler v. Bauman, 571 U.S. 117, 125 (2014). Washington's long-arm statute

     DEFENDANTS’ MOTION TO DISMISS - 7                               GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 9 of 26




 1   extends the court's personal jurisdiction to the broadest reach that the United States Constitution
 2
 3   permits. Byron Nelson Co. v. Orchard Management Corp., 95 Wn. App. 462, 465 (1999).
 4
     Therefore, this Court must determine whether the exercise of jurisdiction here “comports with
 5
 6   the limits imposed by federal due process.” Daimler, 571 U.S. at 125 (2014).
 7
 8           The exercise of jurisdiction over a non-resident comports with due process only if the
 9
10   defendant has “certain minimum contacts with it such that the maintenance of the suit does not
11
     offend traditional notions of fair play and substantial justice.” International Shoe Co. v. State of
12
13   Wash., Office of Unemployment Compensation and Placement, 326 U.S. 310, 316 (1945). Under
14
15   that standard, a defendant’s conduct and connection with the forum state must be such that he
16
17   should reasonably anticipate being hauled into court within the state. World-Wide Volkswagen
18
     Corp. v. Woodson, 444 U.S. 286, 297 (1980).
19
20           “Minimum contacts are shown if the defendant has continuous and systematic general
21
22   business contacts with a forum state (general jurisdiction), or if the defendant has sufficient
23
24   contacts arising from or related to specific transactions or activities in the forum state (specific
25   jurisdiction).” Morrill v. Scott Financial Corp., 873 F.3d 1136, 1142 (9th Cir. 2017) (quotations
26
27   omitted). There is no question that this Court lacks general jurisdiction over Defendants.
28
29   Ms. Paulson is a citizen and resident of Minnesota, and Without A Crystal Ball LLC is
30
31   incorporated and has its principal place of business in Minnesota. Paulson Decl., ¶ 3.
32   Ms. Paulson has never set foot in Washington State, other than one family vacation here in 1990.
33
34   Id. She is unaware of Defendants having any sponsors or subscribers in Washington. Id.
35
36   Plaintiffs do not and cannot reasonably allege there is general personal jurisdiction over
37
38   Defendants.
39           Plaintiffs do allege specific jurisdiction. The Ninth Circuit applies a three-part test to
40
41   determine whether a defendant has sufficient contacts to be subject to specific personal
42
43   jurisdiction:
44                   (1) The non-resident defendant must purposefully direct his
45                   activities or consummate some transaction with the forum or


     DEFENDANTS’ MOTION TO DISMISS - 8                                 GORDON       600 University Street
                                                                        TILDEN      Suite 2915
                                                                       THOMAS       Seattle, WA 98101
                                                                       CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 10 of 26




 1                     resident thereof; or perform some act by which he purposefully
 2                     avails himself of the privilege of conducting activities in the
 3                     forum, thereby invoking the benefits and protections of its laws;
 4
 5                     (2) the claim must be one which arises out of or relates to the
 6                     defendant's forum-related activities; and
 7                     (3) the exercise of jurisdiction must comport with fair play and
 8                     substantial justice, i.e. it must be reasonable.
 9
10   Id.
11
12           Courts applying the first part of this test in tort cases such as this, ask whether the
13
     defendant “purposefully directed” the allegedly tortious conduct toward the forum state. Id. at
14
15   1142-43. “Purposeful direction” requires “(1) an intentional action, (2) expressly aimed at the
16
17   forum state, which (3) cause harm “the brunt of which is suffered—and which the defendant
18
19   knows is likely to be suffered—in the forum state.” Core-Vent Corp. v. Nobel Industries AB,
20
     11 F.3d 1482, 1485–86 (9th Cir. 1993) (citing Calder v. Jones, 465 U.S. 783, 788–89 (1984)).
21
22   “Failing to sufficiently plead any one of these three elements is fatal to Plaintiff's attempt to
23
24   show personal jurisdiction.” Rupert v. Bond, 2014 WL 4775375, at *14 (N.D. Cal. Sep. 22,
25
26   2014). And “mere bare bones assertions of minimum contacts with the forum or legal
27
     conclusions unsupported by specific factual allegations will not satisfy a plaintiff's pleading
28
29   burden.” Swartz v. KPMG LLP, 476 F.3d 756, 766 (9th Cir. 2007) (internal quotations omitted).
30
31   In applying this test, the Court must “look[ ] to the defendant’s contacts with the forum State
32
33   itself, not the defendant’s contacts with persons who reside there.” Walden v. Fiore, 571 U.S.
34   277, 285 (2014).
35
36           Plaintiffs bear the burden of satisfying the first two prongs of the test. Morrill, 873 F.3d
37
38   at 1142. If they fail to satisfy either of these prongs, “personal jurisdiction is not established in
39
40   the forum state.” Id. If and only if Plaintiffs succeed in satisfying both of the first two prongs, the
41   burden then shifts to Defendants to demonstrate that the exercise of jurisdiction would not be
42
43   reasonable. Id.
44
45


     DEFENDANTS’ MOTION TO DISMISS - 9                                  GORDON       600 University Street
                                                                         TILDEN      Suite 2915
                                                                        THOMAS       Seattle, WA 98101
                                                                        CORDELL      206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 11 of 26




 1           2.      The Complaint contains no allegations even suggesting this Court may
 2                   exercise personal jurisdiction with respect to Plaintiff Halo’s claims.
 3
 4           Plaintiffs allege that this Court has personal jurisdiction over Defendants because “they
 5
     committed torts within this State” because they “directly targeted Plaintiffs, who are residents of
 6
 7   this District, with their tortious activity.” Dkt. 1 at ¶ 8 (emphasis added). The Complaint defines
 8
 9   “Plaintiffs” to include the Westbrooks and Halo. Id. at ¶ 3. But the Complaint itself disproves the
10
11   assertion that Halo is a “resident of this District.” Instead, it is alleged to be “a Nevada limited
12
     liability company with its principal place of business in Nevada.” Id.
13
14           “Personal jurisdiction must be established for each defendant and by each plaintiff.”
15
16   Prime Healthcare Centinela, LLC v. Kimberly–Clark Corporation, 2016 WL 7177532 at *1
17
18   (C.D. Cal. May 26, 2016) (emphasis added) (citing Rutter Group Practice Guide: Federal Civil
19   Procedure Before Trial Ch. 3–E (2016)). As such, even if the Westbrooks’ allegations regarding
20
21   their domicile are correct (they are not), and even if such allegations would suffice to establish
22
23   jurisdiction with respect to their claims (they would not), they do not even arguably support the
24
25   exercise of personal jurisdiction with respect to Halo’s claims. The allegation that Halo is a
26   resident of Washington is not only inaccurate, it is frivolous. The Complaint contains nothing
27
28   else to suggest that this Court may exercise personal jurisdiction over Defendants with respect to
29
30   Halo’s claims. Those claims must be dismissed.
31
32           3.      The allegations of the Complaint, even taken as true, do not establish
33                   personal jurisdiction with respect to the Westbrooks’ claims.
34
35                   a.      Plaintiffs’ allegations do not satisfy the “expressly aimed”
36                           requirement.
37           Plaintiffs’ allegations, even taken as true, do not satisfy the second requirement of the
38
39   purposeful direction test, that Defendants “expressly aimed” their conduct as Washington State.
40
41   Again, the sole allegation in the Complaint aimed at satisfying the minimum contacts test is the
42
     conclusory assertion that Defendants “committed torts within the State of Washington” because
43
44   they “directly targeted Plaintiffs, who are residents of this District, with their tortious activity.”
45


     DEFENDANTS’ MOTION TO DISMISS - 10                                 GORDON       600 University Street
                                                                         TILDEN      Suite 2915
                                                                        THOMAS       Seattle, WA 98101
                                                                        CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 12 of 26




 1   Dkt. 1, ¶ 8. However, as this Court recently recognized, the plaintiff’s residency “is not the
 2
 3   proper focus of an express aiming inquiry,” because “mere injury to a forum resident is not a
 4
     sufficient connection to the forum . . . The proper question is not where the plaintiff experienced
 5
 6   a particular injury or effect but whether the defendant's conduct connects him to the forum in a
 7
 8   meaningful way.” National Products, Inc. v. Mamiya America Corporation, 2020 WL 1819870
 9
10   at *3 (W.D. Wash. April 10, 2020) (Rothstein, J.) (emphasis added) (citing Walden v. Fiore, 571
11
     U.S. 277, 290 (2014).
12
13          Much later in their Complaint, in the context of attempting to establish the falsity of an
14
15   allegedly defamatory statement, Plaintiffs allege in conclusory fashion that Defendants “knew”
16
17   Plaintiffs had “moved to the state of Washington in 2018 and became permanent residents there
18
     in 2019” because Ms. Paulson “has made mention of Tati’s move to Washington in certain of her
19
20   videos.” Dkt. 1, ¶ 36. This additional allegation does nothing to bolster Plaintiffs’ assertion of
21
22   personal jurisdiction, for two reasons.
23
24          First, this “bare bones” allegation is far too conclusory to meet the pleading requirement
25   with respect to Defendants’ alleged “knowledge” of the Westbrooks’ residency. Swartz, 476 F.3d
26
27   at 766. Plaintiffs’ Complaint identifies videos created by Defendants as late as October 29,
28
29   2020—the day before the Complaint was filed and well after nearly all of the alleged defamatory
30
31   statements were published. As such, the assertion that Defendants “mentioned” Tati’s alleged
32   move to Washington in “certain of her videos” is insufficient to support a plausible inference that
33
34   they were aware that she was a resident of Washington at the time the allegedly defamatory
35
36   statements were published, starting in May 2019. Further, Plaintiffs’ failure to identify any
37
38   specific statement by Defendants in any specific video is notable. They had access to these
39   videos at the time they filed the Complaint. If any specific video included a specific statement
40
41   establishing that Defendants knew of Ms. Westbrook’s residency in Washington at a time
42
43   relevant to the Complaint, presumably they would have identified it in that pleading.
44
45


     DEFENDANTS’ MOTION TO DISMISS - 11                               GORDON       600 University Street
                                                                       TILDEN      Suite 2915
                                                                      THOMAS       Seattle, WA 98101
                                                                      CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 13 of 26




 1            Second, Walden established that the “expressly aimed” standard is not satisfied merely
 2
 3   because a defendant knew that a plaintiff resided in the forum at the time of the alleged
 4
     defamation. Prior to 2014, the law in the Ninth Circuit was that the “expressly aimed”
 5
 6   requirement could be satisfied based on this alone. This was referred to as the “individualized
 7
 8   targeting” test. See, e.g., Bancroft & Masters, Inc. v. Augusta Nat. Inc., 223 F.3d 1082 (9th Cir.
 9
10   2000). The last Ninth Circuit opinion applying that doctrine was Fiore v. Walden, 688 F.3d 558,
11
     577 (9th Cir. 2012). But the Supreme Court reversed that ruling in Walden v. Fiore, 571 U.S.
12
13   277, 288-89 (2014), holding that express aiming at a plaintiff, knowing he or she was a forum
14
15   resident, was not enough to satisfy due process. Something more is required. The Court reasoned
16
17   that to permit the exercise of personal jurisdiction on this basis “impermissibly allows a
18
     plaintiff's contacts with the defendant and forum to drive the jurisdictional analysis,” thereby
19
20   “improperly attribute[ing] a plaintiff's forum connections to the defendant and mak[ing] those
21
22   connections ‘decisive’ in the jurisdictional analysis.” Id. at 285-86 (emphasis added); see Axiom
23
24   Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1070 (9th Cir. 2017) (Walden “made clear
25   that we must look to the defendant's ‘own contacts’ with the forum, not to the defendant's
26
27   knowledge of a plaintiff's connections to a forum.”); Picot v. Weston, 780 F.3d 1206, 1215 (9th
28
29   Cir. 2015) (“[W]e are guided by the Supreme Court's recent decision in Walden. There, the Court
30
31   reinforced the traditional understanding that our personal jurisdiction analysis must focus on the
32   defendant's contacts with the forum state, not the defendant's contacts with a resident of the
33
34   forum.”); Microsoft Corp. v. Communications & Data System Consultants, Inc., 127 F. Supp.3d
35
36   1107, 1115 (W.D. Wash. 2015) (Martinez, J.) (noting that, in Walden, “the United States
37
38   Supreme Court has expressly rejected the idea that a defendant's knowledge of a plaintiff's forum
39   connections and the foreseeability of harm there are enough in themselves to satisfy the
40
41   minimum contacts analysis.”).
42
43          The ”something more” requirement may be satisfied in defamation cases where, for
44
     example: (1) the defendant developed the defamatory story using sources from the within the
45


     DEFENDANTS’ MOTION TO DISMISS - 12                              GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 14 of 26




 1   forum; (2) the story focused on the plaintiff’s activities within the forum; (3) the defamatory
 2
 3   article had its widest circulation in the forum; and (4) the article was targeted specifically at an
 4
     audience in the forum. Walden, 571 U.S. at 286-87 (observing that personal jurisdiction was
 5
 6   proper in a previous case, Calder v. Jones, 465 U.S. 473 (1984), only because of these “plus”
 7
 8   factors). Here, however, Plaintiffs make no allegations that remotely satisfy the something more
 9
10   requirement. And, in fact, they will be unable to do so. Paulson Decl., ¶ 5. Their allegations
11
     demonstrate that Defendants found the “sources” for their allegedly defamatory publications
12
13   from court records in California and Hawaii, and the publications concerned Plaintiffs’ conduct
14
15   within those two states as well as Nevada (where Plaintiff Halo is incorporated and resides).
16
17   There is no allegation of targeting a Washington audience. Indeed, there is no allegation of any
18
     connection between Defendants and Washington, except for the Westbrooks’ alleged residency
19
20   here. That is not enough. See Western States Hockey League Inc. v. Doungchak, 2016 WL
21
22   5886901 (C.D. Cal. March 7, 2016) (no personal jurisdiction in California where there was no
23
24   allegation that the defendants’ allegedly defamatory internet-based commentary was targeted
25   specifically at a California audience); Smart Energy Today, Inc. v. Hoeft, 2016 WL 8200432
26
27   (C.D. Cal. June 20, 2016) (“Here, Plaintiff claims that Daly posted libelous and defamatory
28
29   materials online, which harmed Plaintiff's business—including its business in California. The
30
31   comments posted on AngiesList.com and Yelp.com are available to anyone in the United States
32   with Internet access, but there is no allegation that Defendants encouraged California residents to
33
34   access the sites or that they targeted California residents in any way.”).
35
36                  b.      Plaintiffs fail to allege they suffered the “brunt of the harm” here.
37
38          The Complaint must be dismissed for the additional reason that Plaintiffs fail to allege
39
     that “the brunt” of their alleged harm was suffered in Washington or that Defendants knew the
40
41   brunt would be suffered here. Core-Vent, 11 F.3d at 1485–86. The only allegations arguably
42
43   touching on this requirement are those discussed above, that the Westbrooks “moved to”
44
45   Washington in 2018 and became permanent residents in 2019, and that Defendants “mentioned”


     DEFENDANTS’ MOTION TO DISMISS - 13                                GORDON       600 University Street
                                                                        TILDEN      Suite 2915
                                                                       THOMAS       Seattle, WA 98101
                                                                       CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 15 of 26




 1   that move at some point before October 30, 2020. Here again, those allegations do not give rise
 2
 3   to a plausible inference that Defendants knew that Plaintiffs had moved from Los Angeles to
 4
     Washington, at a time when the alleged injuries occurred. Further, the mere fact that the
 5
 6   Westbrooks recently moved to Washington does not say anything about where the “brunt” of any
 7
 8   alleged harm was suffered. The business—Plaintiff Halo—is incorporated and resident in
 9
10   Nevada. Dkt. 1 at ¶ 3. There is no allegation that it conducted any business or suffered any injury
11
     in Washington, let alone the brunt of injury. Nor is there any allegation that the Westbrooks
12
13   conducted any business or other remunerative activity here or earned (or lost) money from
14
15   Washington sources, such as sponsors or business opportunities.
16
17          4.      The allegations of the Complaint are contradicted by the Westbrooks’ own
18                  public statements regarding their state of residence.
19
20          The Complaint alleges that Defendants defamed Plaintiffs during the period May of 2019
21   through October of 2020. As noted above, the Westbrooks allege, as the sole basis for personal
22
23   jurisdiction over Defendants, that “[a]t all times relevant to this Complaint” (that is, from May
24
25   2019 through October 2020) they resided and were domiciled in Washington, and that they
26
     “moved to” Washington in 2018 and became “permanent residents” here in 2019. Dkt. 1 at ¶¶ 1,
27
28   2, 36. These allegations are almost certainly false.
29
30          “A person's domicile is her permanent home, where she resides with the intention to
31
32   remain or to which she intends to return.” Kanter v. Warner–Lambert Co., 265 F.3d 853, 857
33
     (9th Cir. 2001) (citing Lew v. Moss, 797 F.2d 747, 749 (9th Cir.1986)). A person can have only
34
35   one domicile at a time. As such, having established a domicile in California for years leading up
36
37   to 2018, the Westbrooks are presumed to have continued to be domiciled there unless and until
38
39   they provide evidence establishing that Washington became their new domicile. Lew, 797 F.2d at
40
     750. “A change in domicile requires the confluence of (a) physical presence at the new location
41
42   with (b) an intention to remain there indefinitely.” Id. Relevant factors include residence,
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 14                              GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 16 of 26




 1   business activities, vehicle registration, property ownership, voting, and payment of taxes. See
 2
 3   13B C. Wright, A. Miller, & E. Cooper, Federal Practice and Procedure § 3613 (2020).
 4
            The Complaint includes nothing but conclusory allegations regarding residence and
 5
 6   domicile. That is not sufficient. A party’s self-serving declaration regarding change of domicile
 7
 8   is to be regarded with skepticism and disregarded when inconsistent with the facts. See id.
 9
10   A fortiori, the Westbrooks’ unsworn and conclusory allegations should be given no weight at all.
11
     The Westbrooks’ failure to include specific allegations to support their assertion of residence and
12
13   domicile in Washington as of May 2019 is telling, in light of the fact that their domicile prior to
14
15   that time was clearly Los Angeles, and that they must know they are required to overcome the
16
17   presumption of the continuation of that domicile. And, in fact, there is substantial evidence that
18
     the Westbrooks’ assertions in this Court are false, and that they changed their domicile to
19
20   Washington, if at all, no earlier than March of 2020.
21
22          First, according to Zillow.com, the Westbrooks did not list their Los Angeles home for
23
24   sale until September 2020. Brown Declaration, ¶ 2. Second, their business partner Clark
25   Swanson, under penalty of perjury in his verified complaint in Los Angeles County Superior
26
27   Court, stated that the Westbrooks “resided in Los Angeles County and were citizens of
28
29   California” from 2016 through the filing of his complaint, in October 2020. RJN, Appx. A, ¶ 4.
30
31   Third, Ms. Westbrook herself left a long and public trail of evidence in the form of social media
32   posts from late 2019 and early 2020. These establish, in Ms. Westbrook’s own words, that Los
33
34   Angeles—not Washington—was her home at that time (all emphases added):
35
36           •   Ms. Westbrook stated in an August 19, 2019 tweet: “Back in LA . . . Excited to get
37
38               home to snuggle with Puka [her dog].” Brown Decl., ¶ 3. If Ms. Westbrook had in
39               fact “moved” to Washington in 2018 and established domicile here by May 2019,
40
41               presumably she would not be referring to Los Angeles as “home” in August 2019
42
43               (and presumably her dog would not have been living in her Los Angeles “home” at
44
                 that time).
45


     DEFENDANTS’ MOTION TO DISMISS - 15                              GORDON       600 University Street
                                                                      TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
            Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 17 of 26




 1          •   On November 7, 2019, in response to an invitation to attend a charity event near her
 2
 3              home in Los Angeles, Ms. Westbrook responded: “I’m out of town with family or
 4
                else I’d be there.” Id., ¶ 4. Ms. Westbrook was in Seattle on that date, visiting her
 5
 6              sister Erika, who was in the hospital here. Id., ¶ 4. If Ms. Westbrook had “moved to”
 7
 8              Seattle in 2018 and established domicile here by May 2019, she would not, in
 9
10              November 2019, be referring to Seattle as “out of town.”
11
            •   Ms. Westbrook stated, in a March 2020 YouTube video, that when she “first got
12
13              here to Seattle” she posted tweets about COVID and received online blowback for
14
15              being too alarmist about the COVID threat. Def’s RJN, Appx. B-13 (at 11:00 –
16
17              11:30). Of course, the COVID crisis did not begin to materialize until early 2020,
18
                which means Ms. Westbrook admitted she “first got to Seattle” in or about March
19
20              2020. In that same video, Ms. Westbrook describes the strange new experience of
21
22              being in Seattle and away from Los Angeles. Id. (at 00:01 - 00:40).
23
24          •   Ms. Westbrook stated, in her June 30, 2020 video Breaking My Silence, that in the
25              fall of 2019, “I became so afraid to stay in my L.A. home that I made a lot of videos
26
27              and left town in October.” Id., Appx. B-8 (at 29:12).
28
29          •   After years of living in Los Angeles with Mr. Westbrook, on December 11, 2019,
30
31              Ms. Westbrook sent a cryptic tweet saying: “Ready for the next chapter.” Brown
32              Decl., ¶ 5. On December 15, 2019—one year or more after the date on which she
33
34              now claims she moved back to Seattle—Ms. Westbrook posted a photo on Instagram
35
36              of herself in Seattle with the announcement: “Seattle . . . I’m back and I’m here to
37
38              stay.” Id., ¶ 6. That announcement caused a splash in the media and among her
39              followers and fans, and speculation about the reason for the surprising move. It is
40
41              implausible that a prominent Los Angeles-based “internet personality, celebrity, and
42
43              influencer,” as Ms. Westbrook describes herself in the Complaint, could have
44
                “moved to Washington” from Los Angeles in 2018, and lived there for at least one
45


     DEFENDANTS’ MOTION TO DISMISS - 16                             GORDON       600 University Street
                                                                     TILDEN      Suite 2915
                                                                    THOMAS       Seattle, WA 98101
                                                                    CORDELL      206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 18 of 26




 1               year, without the notice of the media or her fans, so as to make the December 2019
 2
 3               “announcement” a surprise in that community.
 4
             •   Ms. Westbrook then stated in a December 16, 2019 tweet that “I am not moving to
 5
 6               Seattle without my husband.” Id., ¶ 7. Had the Westbrooks “moved” to Washington
 7
 8               in 2018 and established domicile her by May 2019, Ms. Westbrook would not have
 9
10               referred to “moving” in the future tense (or present continuous tense) in December
11
                 2019.
12
13          The factual basis for the Westbrooks’ assertion of Washington domicile as of May 2019
14
15   is contradicted by this publicly-available evidence. Defendants expect that non-public evidence
16
17   such as banking, voting, tax, vehicle registration, and travel records are consistent with
18
     Ms. Westbrook’s public statements and would disprove the assertions in the Complaint.
19
20
     B.     The Complaint must be dismissed for lack of diversity jurisdiction.
21
22          Plaintiffs bring this lawsuit against Defendants, who are Minnesota residents, and 100
23
24   DOE defendants. They do not allege the state of residence for any of these 100 defendants. As
25
     such, this Court lacks diversity jurisdiction and all claims should be dismissed. See Fineman v.
26
27   Lutz-Laidlaw Partnership, 2020 WL 1905783 at *2 (S.D. Cal. April 17, 2020) (“Plaintiffs have
28
29   not alleged the citizenship of any of the Doe Defendants, whether business entities or
30
31   individuals. Failure to do so destroys diversity jurisdiction.” (citing Garter-Bare Co. v.
32
     Munsingwear, Inc., 650 F.2d 975, 981 (9th Cir. 1980)). Plaintiffs’ failure to name any of these
33
34   100 allegedly “unknown” defendants is especially troubling, in light of their very public
35
36   allegations in June of 2020—which were “approved” by their “legal team”—that Dawson and
37
38   Starr were the leaders of the conspiracy that led to Dramageddon 2.0 and caused their mental,
39
     physical and business injuries.
40
41
42
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 17                              GORDON        600 University Street
                                                                      TILDEN       Suite 2915
                                                                     THOMAS        Seattle, WA 98101
                                                                     CORDELL       206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 19 of 26




 1   C.     Plaintiffs failed to join necessary parties they have already identified as the cause of
 2          the damages they seek here.
 3
 4          Rule 19(a) of the Federal Rules of Civil Procedure provides that any person “subject to
 5
     service of process and whose joinder will not deprive the court of subject-matter jurisdiction
 6
 7   must be joined as a party if: (A) in that person's absence, the court cannot accord complete relief
 8
 9   among existing parties.” The “complete relief” described in Rule 19(a)(1)(A) “is concerned with
10
11   consummate rather than partial or hollow relief as to those already parties, and with precluding
12
     multiple lawsuits on the same cause of action.” Reichert v. Keefe Commissary Network, L.L.C.,
13
14   331 F.R.D. 541, 557 (W.D. Wash. 2018) (Leighton, J.) (quoting Alto v. Black, 738 F.3d 1111,
15
16   1126 (9th Cir. 2013)). If a person has not been joined as required, “the court must order that the
17
18   person be made a party.” Id. “If a person who is required to be joined if feasible cannot be
19   joined, the court must determine whether, in equity and good conscience, the action should
20
21   proceed among the existing parties or should be dismissed.” Id.
22
23          Where a plaintiff asserts injuries for which multiple defendants could be proportionately,
24
25   as opposed to jointly and severally liable, each of those defendants is a necessary party under
26   Rule 19. See Abuhouran v. Kaiserkane, 2012 WL 4027416 at *7 (D. N.J. Sept. 12, 2012). Here,
27
28   Plaintiffs, with the approval of their lawyers, publicly accused Dawson and Starr of orchestrating
29
30   Dramageddon 2.0 and the blowback from that incident, which allegedly caused Plaintiffs’
31
32   injuries—the same injuries for which they have since sued Defendants. In the absence of these
33   parties, this Court will be unable to afford complete relief. Id.
34
35          Plaintiffs make no attempt to explain why they have not joined in this action the very
36
37   parties who they and their attorneys have held publicly accountable for their alleged injuries,
38
     especially when those parties have massive public followings (compared to Defendants), and
39
40   Plaintiffs made no mention of Defendants in their very lengthy and public YouTube accusations.
41
42
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 18                                  GORDON    600 University Street
                                                                          TILDEN   Suite 2915
                                                                         THOMAS    Seattle, WA 98101
                                                                         CORDELL   206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 20 of 26




 1   D.     The Complaint fails to state a claim for intentional infliction of emotional distress.
 2
 3          Under both California and Washington law, to plead a claim for intentional infliction of
 4
     emotional distress (“IIED”), the Westbrooks must allege specific facts sufficient to permit a
 5
 6   plausible inference that: (1) Defendants engaged in extreme and outrageous conduct,
 7
 8   (2) Defendants intentionally or recklessly inflicted emotional distress on them, and
 9
10   (3) Defendants’ conduct resulted in them suffering “severe” emotional distress. Hughes v. Pair,
11
     46 Cal.4th 1035, 1050 (2009); Snyder v. Med. Serv. Corp. of E. Wash., 145 Wn.2d 233, 250
12
13   (2001); Trivedi v. U.S. Department of Homeland Security, 711 Fed. Appx. 827 (9th Cir. Oct. 3,
14
15   2019) (unpublished) (applying Iqbal/Twombly standard to IIED claim). The Westbrooks claim
16
17   should be dismissed because they fail adequately to plead either the first or third element.
18
19          1.      The Westbrooks fail to plead “extreme and outrageous” conduct.
20          “Extreme and outrageous” conduct “does not extend to mere insults [or] indignities . . .
21
22   but only to conduct so extreme and outrageous as to go beyond all possible bonds of decency.”
23
24   Plater v. United States, 359 F. Supp.3d 930, 942 (C.D. Cal. 2018); Restatement (Second) of
25
     Torts, § 46 cmt. d (2020). “In this area plaintiffs must necessarily be hardened to a certain degree
26
27   of rough language, unkindness and lack of consideration.” Kloepfel v. Bokor, 149 Wn.2d 192,
28
29   196 (2003). With respect to Ms. Westbrook, Plaintiffs allege that Defendants posted statements
30
31   to social media that she is a “liar,” is “manipulative,” is selling “snake oil” and “junk vitamins,”
32
     “is not necessarily following the rules,” is a “con-artist,” is disappointed in the sales of her
33
34   vitamins, and is “not honest.” Even assuming these statements were made and were false, they
35
36   are nothing more than insults; as a matter of law they are not “extreme and outrageous.” Id.
37
38          Plaintiffs also allege that Defendants reported on allegations made against both
39   Westbrooks in several publicly-available lawsuits against them. Those suits allege fraud,
40
41   “malicious and willful” misconduct, wrongful diversion of assets, Ms. Westbrook’s contempt for
42
43   her customers and fans, and (with respect to Mr. Westbrook) overreaching conduct in regard to
44
45   an elderly relative’s estate. See, e.g., Dkt. 1 at ¶¶ 32-37. Plaintiffs allege that Defendants reported


     DEFENDANTS’ MOTION TO DISMISS - 19                                GORDON       600 University Street
                                                                        TILDEN      Suite 2915
                                                                       THOMAS       Seattle, WA 98101
                                                                       CORDELL      206.467.6477
               Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 21 of 26




 1   from these public records without making it clear that they were allegations and not facts. But as
 2
 3   a matter of law the mere reporting of allegations from public documents cannot be “extreme and
 4
     outrageous,” even assuming, arguendo, that Defendants did not sufficiently couch them as
 5
 6   allegations, and such that such an omission could support a claim for defamation.
 7
 8            2.       The Westbrooks fail adequately to allege “severe” emotional distress.
 9
10              The Westbrooks allege that, because of Defendants’ conduct, they suffered “severe
11
12   emotional distress” such as “loss of sleep, anxiety, depression, nausea, loss of appetite, loss of
13   weight, fear, sense of helplessness, and despair.” Dkt. 1 at 96. These are the same symptoms
14
15   Ms. Westbrook blamed on Starr and Dawson in her attorney approved Breaking My Silence. In
16
17   any event, the conclusory recitation of such symptoms is not sufficient to meet federal pleading
18
19   standards. See McTimmonds v. Alcohol & Drug Testing Services, LLC 2014 WL 6835636 (E.D.
20   Cal. Dec. 3, 2014) (citing Hughes v. Pair, 46 Cal.4th 1035, 1050 (2009)) (“Plaintiff alleges . . .
21
22   he suffered ‘anguish, humiliation, discomfort, worry, anxiety, annoyance, and severe emotional
23
24   distress’ . . . The Complaint is silent, however, as to whether the distress was enduring. Under
25
     Iqbal, the conclusory allegation that plaintiff suffered severe emotional distress is insufficient.”);
26
27   see also Lawler v. Montblanc N. Am. LLC, 704 F.3d 1235, 1246 (9th Cir. 2013) (plaintiff's
28
29   emotional injuries such as anxiety, sleeplessness, upset stomach, and muscle twitches “clearly”
30
31   did not rise to the level of “severe”). At minimum, a plaintiff must plead that such symptoms
32
     were so severe or enduring that “that no reasonable [person] in civilized society should be
33
34   expected to endure it.” McTimmonds, 2014 WL 6835636 at *6. Plaintiffs have failed to meet that
35
36   pleading standard. 2
37
38
39
40
41
42
43     2
         Washington law also requires that the emotional distress be “severe,” for negligent and intentional infliction of
44   emotional distress. Dicomes v. State, 113 Wn.2d 612, 630, 782 P.2d 1002 (1989).
45


     DEFENDANTS’ MOTION TO DISMISS - 20                                         GORDON          600 University Street
                                                                                 TILDEN         Suite 2915
                                                                                THOMAS          Seattle, WA 98101
                                                                                CORDELL         206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 22 of 26




 1   E.     The Complaint fails to state a claim for negligent infliction of emotional distress.
 2
 3          Plaintiffs’ claim for negligent infliction of emotional distress fails because, as discussed
 4
     above, they have not adequately alleged “severe” emotional distress. McTimmonds, 2014 WL
 5
 6   6835636 at *5 (“Serious emotional distress required for an NIED claim absent threat of physical
 7
 8   harm is functionally the same as the articulation of ‘severe emotional distress’ required for an
 9
10   IIED claim.”). Further, to the extent Washington law would apply to this claim, it fails for the
11
     additional reason that Plaintiffs fail to plead that Defendants’ conduct resulted in a medically
12
13   diagnosable mental or emotional disorder, such as “neuroses, psychoses, chronic depression,
14
15   phobia, post-traumatic stress disorder, or any other disabling mental condition.” See Hegel v.
16
17   McMahon, 136 Wn.2d 132, 135 (1998) (emphasis added). Plaintiffs’ alleged symptoms may be
18   consistent with such a diagnosable mental disorder, but they are also consistent with transient
19
20   symptoms suffered in the absence of one. Haubry v. Snow, 106 Wn .App. 666, 678-79 (2001)
21
22   (symptoms like nightmares, loss of sleep, fear, and intrusive memories do not support a claim
23
24   unless they “constitute a diagnosable emotional disorder”). Federal pleading standards require
25   more. Nayab v. Capital One Bank (USA), N.A., 942 F.3d 480, 501 (9th Cir. 2019) (allegations
26
27   that are merely “consistent with” defendant’s liability are insufficient under Iqbal/Twombly).
28
29   F.     The Complaint fails to state a claim under the Washington CPA.
30
31          1.      The Complaint fails adequately to allege “injury to the public.”
32
33          A plaintiff may not state a claim for a Consumer Protection Act violation unless he or she
34   alleges facts that give rise to a plausible inference that the claim “would serve the public interest
35
36   by addressing acts or practices that are injurious to the public.” Shugart v. GYPSY Official
37
38   No. 251715, 2015 WL 1965375 at *2 (W.D. Wash. May 1, 2015) (citing Michael v. Mosquera–
39
     Lacy, 165 Wn.2d 595, 605 (2009); Hangman Ridge Training Stables v. Safeco Title Ins. Co., 105
40
41   Wn.2d 778, 780 (1986) (The Act “shall not be construed to prohibit acts or practices which . . .
42
43   are not injurious to the public interest.”)). “Injury to the public” is difficult to show where, as
44
45


     DEFENDANTS’ MOTION TO DISMISS - 21                                GORDON        600 University Street
                                                                        TILDEN       Suite 2915
                                                                       THOMAS        Seattle, WA 98101
                                                                       CORDELL       206.467.6477
             Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 23 of 26




 1   here, the dispute does not concern a consumer transaction. Id. (citing Goodyear Tire & Rubber
 2
 3   Co. v. Whiteman Tire, Inc., 86 Wn. App. 732, 744 (1997).
 4
            Plaintiffs’ Complaint contains nothing but the barest conclusory recitation regarding the
 5
 6   “injury to the public” requirement. See Dkt. 1 at ¶ 107 (alleging that Defendants’ practices
 7
 8   “affect the public interest because they had, or have, the capacity to injure other persons as
 9
10   described in this Complaint.”). They fail to identify any “other person” allegedly injured or
11
     threatened with injury by Defendants’ conduct, let alone any Washingtonian. Plaintiffs’
12
13   “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
14
15   statements, do not suffice.” Shugart, 2015 WL 1965375 at *2 (citing Bell Atlantic Corp. v.
16
17   Twombly, 550 U.S. 544, 570 (2007)).
18
19   G.     The Complaint fails to state a claim for civil harassment under RCW 10.14.020.
20          Plaintiffs’ Complaint fails to state a claim for Civil Harassment under RCW 10.14.020,
21
22   for a slew of reasons. First, that statute is part of the Washington Criminal Procedure Code; it is
23
24   not the basis for a federal civil cause of action. Indeed, the statute’s “Jurisdiction” provision
25
     vests jurisdiction in the State’s district courts, municipal courts, and superior courts. RCW
26
27   10.14.150; see Cariega v. City of Reno, 2017 WL 3299030 at *1 (D. Nev. Aug. 2 2017) (refusing
28
29   to exercise subject matter jurisdiction over plaintiff’s putative “claim” under Nevada statute,
30
31   where statute set forth procedure to enforce public records act request in state court). And the
32
     statute sets forth detailed procedural mechanisms tailored specifically to the state judicial and
33
34   criminal justice system. RCW 10.14.040-110. In Barberio v. City of Burien, 2006 WL 2237704
35
36   (W.D. Wash. August 3, 2006) (Pechman, J.), the court rejected the notion that this state criminal
37
38   procedural statute could be turned into a federal civil claim:
39
40                  Plaintiff's request for a protection order appears to be based on
41                  provisions of Washington state law that permit victims of
42                  harassment or domestic violence to obtain protection orders. See
43                  RCW 10.14 and 26.50. Unlike Washington state law, there is no
44                  federal statute that authorizes the issuance of a “Federal Protection
45                  Order.” Therefore, this claim will be dismissed for failure to state a


     DEFENDANTS’ MOTION TO DISMISS - 22                                GORDON       600 University Street
                                                                        TILDEN      Suite 2915
                                                                       THOMAS       Seattle, WA 98101
                                                                       CORDELL      206.467.6477
               Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 24 of 26




 1                     claim on which relief may be granted. This dismissal is without
 2                     prejudice to Plaintiff seeking protection orders as authorized by
 3                     Washington law in Washington state courts.
 4
 5   (Emphasis added); see also Peace v. Kerlikowske, 2005 WL 8165815 at *6 (W.D. Wash.
 6
     April 12, 2005) (“The procedure for obtaining an ex parte temporary anti-harassment protection
 7
 8   order is to petition the State district court for the desired order.”). 3
 9
10            Second, the statute states that the request for relief thereunder “shall be accompanied by
11
12   an affidavit made under oath stating the specific facts and circumstances from which relief is
13
     sought.” RCW 10.14.040. The Westbrooks filed no such “affidavit under oath.” This failure even
14
15   to attempt to satisfy the clear statutory requirement suggests the Westbrooks are unable to make
16
17   necessary allegations “under oath.” In any event, it is fatal to the attempted cause of action.
18
19            Third, the statute defines “unlawful harassment” as “knowing and willful course of
20   conduct directed at a specific person . . .” RCW 10.14.020(2) (emphasis added). The materials
21
22   on which Plaintiffs’ Complaint are based were not directed “at” the Westbrooks. Rather, they
23
24   were about the Westbrooks. They were “directed at” Defendants’ general social media audience.
25
26   While Plaintiffs recite the phrase “directed at Plaintiffs” in their Complaint, they fail to allege
27   any facts that would plausibly support such an inference. Indeed, they do not—and cannot—
28
29   allege that Defendants even attempted to make contact with them in any manner whatsoever.
30
31   This is a critical distinction. The statute is aimed at harassing “contact” between the parties. See
32
33   RCW 10.14.10 (“This chapter is intended to provide victims with a speedy and inexpensive
34   method of obtaining civil antiharassment protection orders preventing all further unwanted
35
36   contact between the victim and the perpetrator.”) (emphasis added); RCW 10.14.030 (the court
37
38   considers who initiated “any current contact between the parties”; whether there was “clear
39
     notice that all further contact . . .is unwanted”; and whether “contact by the respondent with the
40
41   petitioner” has been previously limited by court order) (emphases added). While that contact
42
43      3
         One court in this District concluded it had “concurrent” jurisdiction, with the state courts, to entertain a claim
44   under RCW 10.14.020. Ferguson v. Waid, 2018 WL 5734662 at *1 (W.D. Wash. Nov. 2, 2018) (Martinez, J.).
45   However, that finding was unsupported by any analysis, and Defendants respectfully contend it was incorrect.


     DEFENDANTS’ MOTION TO DISMISS - 23                                           GORDON          600 University Street
                                                                                   TILDEN         Suite 2915
                                                                                  THOMAS          Seattle, WA 98101
                                                                                  CORDELL         206.467.6477
              Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 25 of 26




 1   need not be face-to-face and may be by electronic means, there is no authority for the proposition
 2
 3   that general internet publications not directed “at” the plaintiff fall within the scope of the statute.
 4
             Fourth, the statute requires that Plaintiffs show that Defendants had a “continuity of
 5
 6   purpose” to harass them. RCW 10.14.020(1). City of Seattle v. Megrey, 93 Wn .App. 391, 397
 7
 8   (1998) (“To obtain an antiharassment order under RCW 10.14, a petitioner must prove a
 9
10   respondent engaged in a “knowing and willful” course of conduct. RCW 10.14 requires the court
11
     to engage in a subjective analysis and find this purposive element in a person's activities in
12
13   order to proscribe otherwise legal activities.”) (emphasis added). Not only have the Westbrooks
14
15   failed to allege facts supporting this requirement, they explicitly admit that Defendants’ “sole
16
17   purpose” was something entirely different. The allege that Defendants acted with “the sole
18
     purpose of enticing followers and viewers to help Defendants monetize Defendant Paulson’s
19
20   pages and channels on her various social media platforms.” Dkt. 1 at ¶ 14. A complaint cannot
21
22   give rise to a plausible inference of a specific purpose to harass, when the complaint itself alleges
23
24   a “sole purpose” to attract viewers and subscribers.
25           Plaintiffs’ failure adequately to allege that Defendants acted with the specific purpose of
26
27   harassing them implicates the very constitutionality of this statute. It is the mens rea requirement
28
29   that keeps the statute from unconstitutionally criminalizing “pure speech,” that is, prohibiting
30
31   speech based only on its content. State v. Nguyen, 10 Wn. App.2d 797, 811 (2011) (“Nguyen’s
32   [First Amendment] argument ignores that a violation of the stalking statute is not based on the
33
34   content of pure speech. [T]he statute has an important mens rea element: the harassment
35
36   provision of the stalking statute is only violated based on an intentional course of conduct that
37
38   seriously alarms, annoys, harasses, or is detrimental to the victim. This intentional course of
39   conduct is not protected by the First Amendment.”) (emphasis added).
40
41                                           IV. CONCLUSION
42
43           The defects in Plaintiffs’ Complaint are numerous, clear, and fatal. This Court should
44
45   dismiss this action.


     DEFENDANTS’ MOTION TO DISMISS - 24                                GORDON        600 University Street
                                                                        TILDEN       Suite 2915
                                                                       THOMAS        Seattle, WA 98101
                                                                       CORDELL       206.467.6477
            Case 2:20-cv-01606-BJR Document 17 Filed 12/02/20 Page 26 of 26




 1         DATED this 2nd day of December, 2020.
 2
 3                                        GORDON TILDEN THOMAS & CORDELL LLP
 4                                        Attorneys for Defendants Kathryn Manske Paulson and
 5                                        Without A Crystal Ball, LLC
 6
 7                                        By    s/ Michael P. Brown
 8                                             Michael P. Brown, WSBA #45618
 9                                             600 University Street, Suite 2915
10                                             Seattle, Washington 98101
11                                             206.467.6477
12                                             mbrown@gordontilden.com
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33
34
35
36
37
38
39
40
41
42
43
44
45


     DEFENDANTS’ MOTION TO DISMISS - 25                       GORDON      600 University Street
                                                               TILDEN     Suite 2915
                                                              THOMAS      Seattle, WA 98101
                                                              CORDELL     206.467.6477
